     Case 1:18-cr-00121-RJJ ECF No. 20 filed 10/20/20 PageID.28 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION



UNITED STATES OF AMERICA,

                Plaintiff,
                                                              CASE NO. 1:18-CR-121
v.
                                                              HON. ROBERT J. JONKER
MARTIN LEON CORRAL,

            Defendant.
______________________________/

                 ORDER ADOPTING REPORT AND RECOMMENDATION


         The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law. Based on this, and on the

Court’s review of all matters of record, including the audio transcript of the plea proceedings, IT

IS ORDERED that:

1.       The Report and Recommendation of the Magistrate Judge (ECF No. 18) is approved

         and adopted as the opinion of the Court.

2.       Defendant's plea of guilty is accepted and defendant is adjudicated guilty of the charge

         set forth in the Superseding Felony Information.

3.       Defendant shall remain on bond pending sentencing on January 8, 2021.


Dated:      October 20, 2020                   /s/ Robert J. Jonker
                                               ROBERT J. JONKER
                                               CHIEF UNITED STATES DISTRICT JUDGE
